              Case 2:19-cv-00767-ECM-SMD Document 192 Filed 04/13/23 Page 1 of 1

AO 133    (Rev. 12/09) Bill of Costs


                                       UNITED STATES DISTRICT COURT
                                                                    for the
                                              MIDDLE DISTRICT OF ALABAMA

                         DAVID M. KEY                                 )
                                                                      )
                      v.                                              )       Case No.: 2:19-CV-767-ECM-SMD
         HYUNDAI MOTOR MANUFACTURING                                  )
              ALABAMA, LLC, et al.                                    )

                                                           BILL OF COSTS
Judgment having been entered in the above entitled action on              02/10/2023            against    Devito M. Key
                                                                              Date
the Clerk is requested to tax the following as costs:

Fees of the Clerk

Fees for service of summons and subpoena
Fees for printed or electronically recorded transcripts necessarily obtained for use in the case                                3,547.50

Fees and disbursements for printing
Fees for witnesses (itemize on page two)                                                                                              0.00

Fees for exemplification and the costs of making copies of any materials where the copies are
necessarily obtained for use in the case                                                                                            396.00

Docket fees under 28 U.S.C. 1923
Costs as shown on Mandate of Court of Appeals
Compensation of court-appointed experts
Compensation of interpreters and costs of special interpretation services under 28 U.S.C. 1828
Other costs (please itemize)
                                                                                                          TOTAL                  3,943.50

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories.

                                                               Declaration
          I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this bill has been served on all parties
in the following manner:

       111      Electronic service                   1=1    First class mail, postage prepaid
       1=1      Other:
          s/ Attorney:         s/ Whitney R. Brown
                     Name of Attorney: WhitneyR. Brown
For:                           Hyundai Motor Manufacturing Alabama, LLC                                     Date:        03/17/2023
                                           Name of Claiming Party

                                                           Taxatiop of Costi
Costs are taxed in the amount of           $4(013.5o                                                         and included in the judgment.
Trey granger, Clerk of Court                               By:                                                      40        Ca -I
                     Clerk of Court                                              Deputy Clerk                                Date
